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               UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               No.3:23-CR-26

                                       (Judge MANNION)

SHAYNA COLONACOSTA,                    (electronically filed)
               Defendant.

                           PLEA AGBEEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Offi.ce of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penalties. and Dismiesal of Other Counts

    1. Guiltv plea. The defendant agrees to plead guilty to Count 1 of
       the Indictment, which charges the defendant with a violation of

       Title 21, United States Code, g 846(d, Conspiracy to Distribute

       Controlled Substances. The maximum penalty for that offense

       is impdonmer\t for a period of 20 years, a fine of g1,000,000, a

       maximum term of supervised release of life but a minimum of at

       Ieast 3 years, which shall be served at the conclusion of, and in
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     addition to, any term of imprisonment, as well as the costs of

     prosecution, imprisonment, probation, or supervised release

     ordered, denial ofcertain federal benefits, and an assessment in

     the amount of $100. At the time the guilty plea is entered, the

     defendant shall admit to the Court that the defendant is, in fact,

     guilty ofthe offense(s) charged in that count. After sentencing,

     the United States will move for dismissal of any remaining

     counts ofthe Indictment, The defendant agrees, however, that

     the United States may, at its sole election, reinstate any

     dismissed charges, or seek additional charges, in the event that

     any guilty plea entered or sentence imposed pursuant to this

     Agreement is subsequently vacated, set aside, or invalidated by

     any court. The defendant further agrees to waive any defenses

     to reinstatement of any charges, or to the filing of additional

     charges, based upon laches, the assertion ofspeedy trial rights,

     any applicable statute oflimitations, or any other ground. The

     calculation of time under the Speedy Trial Act for when trial

     must eommence is tolled as of the date of the defendant's
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     signing of this Agreement, until either (d the defendant pleads

     guiltyi or G) a new date is set by the Court for commencement

     of trial.

 2. Term ofSupervised Release. The defendant understands that
     the Court must impose at least a 3-year term ofsupervised

     release but up to a lifetime of supervised release in addition to

     any term of imprisonment, fine or assessment involving this

     violation ofthe Controlled Substances Act. The defendant also

     understands that the Court may impose a term ofsupervised

     release following any sentence of imprisonment exceeding one

     year, or when required by statute. The Court may require a

     term of supervised release in any other case. In addition, the

     defendant understands that as a condition of any term of

     supervised release or probation, the Court must order that the

     defendant cooperate in the collection of a DNA sample if the

     collection of a sample is so authorized by law.

 D   Maximum Sentence. The defendant understands that ihe total,

     maximum possible sentence for all charges is the combination of
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      penalties described abovei that is, 20 years in prison, fines

      totaling $1,000,000, a maximum lifetime of supervised release

      but at least 3 years, the costs of prosecution, denial of certain

      federal benefits and an assessment totaling $100.

   4. No Furth er Prosecution. Exceot        Charees. The United

      States Attorney's Office for the Middle District of Pennsylvania

      agrees that it will not bring any other criminal charges against

      the defendant directly arising out ofthe defendant's

      involvement in the offense(s) described above. However,

      nothing in this Agreement will limit prosecution for criminal tax

      charges, ifany, arising out ofthose offenses.

B. FineeandAgsesemente
   5. Fine. The defendant understands that the Court may impose a
      fine pursuant to the Sentencing Reform Act of 1984. The willful

      failure to pay any fine imposed by the Court, in full, may be

      considered a breach ofthis Plea Agreement. Further, the

      defendant acknowledges that willful failure to pay the fine may

      subject the defendant to additional criminal violations and civil
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      penalties pursuant to Title 18, United States Code, S 3611, et

      seq.

  6. Inmate Financial Responsibilitv Procram. If the Court orders a
      fine or restitution as part of the defendant's sentence, and the

      sentence includes a term of imprisonment, the defendant agrees

      to voluntarily enter the United States Bureau of Prisons'

      administered program known as the Inmate Financial

      Responsibility Progtam, through which the Bureau of Prisons

      will collect up to 50% ofthe defendant's prison salary, and up to

      50% ofthe balance ofthe defendant's inmate account, and apply

      that amount on the defendant's behalf to the payment of the

      outstanding fine and restitution orders.

  7. Special Assessment. The defendant understands that the Court
      will impose a special assessment of $100, pursuant to the

      provisions ofTitle 18, United States Code, S 3013. No later

      than the date of sentencing, the defendant or defendant's

      counsel shall mail a check in payment of the special assessment

      directly to the Clerk, United States District Court, Middle
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     District ofPennsylvania. Ifthe defendant intentionally fails to

     make this payment, that failure may be treated as a breach of

     this Plea Agreement and may result in further prosecution, the

     filing of additional criminal charges, or a contempt citation.

  8. Collection ofFinancial Oblisations. In order to facilitate the
     collection of financial obligations imposed in connection with

     this case, the defendant consents and agrees:

     a   to fully disclose all assets in which the defendant has an

         interest or over which the defendant has control, directly or

         indirectly, including those held by a spouse, nominee, or

         other third partyi

     b. to submit to interviews by the Government regarding the
         defendant's financial statusi

     c   to submit a complete, accurate, and truthful financial

         statement, on the form provided by the Government, to the

         United States Attorney's Office no later than 14 days

         following entry of the guilty pleai


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       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial status;

       e. to authorize the Government to obtain the defendant's
           credit reports in order to evaluate the defendant's ability to

           satisfy any financial obligations imposed by the Courti and

       f. to submit any Iinancial information requested by the
           Probation OIfice as directed, and to the sharing offinancial

           information between the Government and the Probation

           Office.

C. Sentencing Guidelinee Calsulation
   9. Determination ofSentencine Guidelines. The defendant and
       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 1, 198?,

       and its amendments (the "sentencing Guidelines"), will apply to

       the offense or offenses to which the defendant is pleading guilty.
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      The defendant understands that the Sentencing Guidelines are

      advisory and not binding on the Court. The defendant further

      agrees that any legal and factual issues relating to the

      application of the Sentencing Guidelines to the defendant's

      conduct, including facts to support any specific offense

      characteristic or other enhancement or adjustment and the

      appropriate sentence within the statutory maximums provided

      for by law, will be determined by the Court after briefing, a pre'

      sentence hearing, or a sentencing hearing.

  10. Acceotance of Resn onsibilitv- Two/Three Levels. If the

      defendant can adequately demonstrate recognition and

      affirmative acceptance of responsibility to the Government as

      required by the Sentencing Guidelines, the Government will

      recommend that the defendant receive a two' or three-level

      reduction in the defendant's offense level for acceptance of

      responsibility. The third level, if applicable, shall be within the

      discretion of the Government under U.S.S.G. $ 381.1, The


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      failure ofthe Court to find that the defendant is entitled to a

      reduction shall not be a basis to void this Agreement.

  11. Specific Sentencins Guidelines Recommendations. With respect

      to the application ofthe Sentencing Guidelines to the

      defendant's conduct, the parties agree to recommend as follows:

         a. For pur?oees of the U.S.S.G., the parties agree
            that the defendant is responsible for the
            distribution of, and poaseesion with intent to
            distribute, at least 160 grams but lese r}nn 280
            grems of fentanyl, a Schedule II controlled
            substance.

      Each party reserves the right to make whatever remaining

      arguments it deems appropriate with regard to application of

      the United States Sentencing Commission Guidelines to the

      defendant's conduct. The defendant understands that any

     recommendations are not binding upon either the Court or the

     United States Probation Office, which may make different

     findings as to the application of the Sentencing Guidelines to

     the defendant's conduct. The defendant further understands

     that the United States will provide the Court and the United

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         States Probation Office all information in its possession that it

         deems relevant to the application of the Sentencing Guidelines

         to the defendant's conduct.

   12. Anorooriate S entence Recommendation. At the time of

         sentencing, the United States may make a recommendation

         that it considers appropriate based upon the nature and

         circumstances of the case and the defendant's participation in

         the offense, and specifically reserves the right to recommend a

         sentence up to and including the maximum sentence of

         imprisonment and fine allowable, together with the cost of

         prosecution.

   13.                  ons o      b                      e      If
         probation or a term of supervised release is ordered, the United

         States may recommend that the Court impose one or more

         special conditions, including but not limited to the following:

         a   The defendant be prohibited from possessing a firearm or

             other dangerous weapon.



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      b. The defendant make restitution, if applicable, the payment
          ofwhich shall be in accordance with a schedule to be

          determined by the Court.

      c   The defendant pay any fine imposed in accordance with a

          schedule to be determined by the Court.

      d. The defendant be prohibited from incurring new credit
          charges or opening additional lines ofcredit without

          approval ofthe Probation Office unless the defendant is in

          compliance with the payment schedule.

      e   The defendant be directed to provide the Probation Office

          and the United States Attorney access to any requested

          financial information.

      f. The defendant be confined in a community treatment
          center, halfway house, or similar facility.

      g. The defendant be placed under home confinement.
      h. The defendant be ordered to perform community service.



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      1   The defendant be restricted from working in certain types of

          occupations or with certain individuals if the Government

          deems such restrictions to be appropriate.

      j. The defendant be directed to attend substance abuse
          counseling, which may include testing to determine whether

          the defendant is using drugs or alcohol.

      k. The defendant be directed to attend psychiatric or
          psychological counseling and treatment in a program

          approved by the Probation Offrcer.

      I. The defendant be denied certain federal benefits including
          contracts, grants, loans, fellowships, and licenses.

      m. The defendant be directed to pay any state or federal taxes

          and file any and all state and federai tax returns as

          required by law.

   14. Destruction OrderAVaivers. The defendant further agrees,

      should the United States deem it appropriate to the destruction

      of the items seized during the course of the investigation. The

      defendant agrees that the items may be destroyed by the
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       investigative agency with or without a court order authorizing

       the destruction of the items seized. If the United States

       determines that a destruction order should be obtained, the

       defendant and defendant's counsel hereby concur in a motion for

       such an order. The defendant further agrees to waive all

       interest in the assets in any administrative orjudicial forfeiture

       proceeding, whether criminal or civil, state, or federal. The

       defendant consents and waives all rights to compliance by the

       United States with any applicable deadlines under 18 U.S.C. $

       983(d. Any related administrative claim filed by the defendant

       is hereby withdrawn. The defendant agrees to consent to the

       entry of orders of forfeiture for such property and waives the

       requirements of Federal Rules of Criminal Procedure 32.2 and

       43(d regarding notice ofthe forfeiture in the charging

      instrument, announcement of the forfeiture at sentencing, and

      incorporation of forfeiture in the judgment.




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D. Victime'Rishts and R€stitution
   15. Victims'Rishts. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Justice for All Act, and the regulations

       promulgated under those Acts by the Attorney General of the

       United States, crime victims have the following rights:

       a   The right to be reasonably protected from the accusedi

       b. The right to reasonable, accurate, and timely notice ofany
           public court proceeding or any parole proceeding involving

           the crime, or ofany release or escape of the accusedi

       C   The right not to be excluded from any such public court

           proceeding, unless the Court, after receiving clear and

           convincing evidence, determines that testimony by the

           victim would be altered materially if the victim heard other

           testimony at that proceedingi

       d. The right to be reasonably heard at any public hearing in
           the Court involving release, plea, sentencing, or any parole

           proceeding. The defendant understands that the victims'
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          comments and recommendations at any of these proceedings

          may be different than those of the parties to this

          Agreementi

      e   The reasonable right to confer with the attorney for the

          Government in the case. The defendant understands that

          the victims' opinions and recommendations given to the

          attorney for the Government may be different than those

          presented by the United States as a consequence ofthis

          Agreementi

      f. The right to full and timely restitution as provided for by
          law. The attorney for the Government is required to "fully

          advocate the rights of victims on the issue of restitution

          unless such advocacy would unduly prolong or complicate

          the sentencing proceeding," and the Court is authorized to

          order restitution by the defendant including, but not limited

          to, restitution for property loss, economic loss, personal

          injury, or deathi

      g. The right to proceedings free from unreasonable delayi and
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      h. The right to be treated with fairness and with respect for
          the victim's dignity and privacy.

   16. Restitution. The defendant acknowledges that, pursuant to the

      Mandatory Restitution Act of April 24,7996, Title 18, United

      States Code, S 36634, the Court is required irr all instances to

      order full restitution to all victims for the losses those victims

      have suffered as a result of the defendant's conduct. The

      defendant also agrees that the Government will seek, and the

      Court may impose an order of restitution as to rrictims of the

      defendant's relevant conduct. With respect to the payment of

      restitution, the defendant further agrees that, as part ofthe

      sentence in this matter, the defendant shall be responsible for

      making payment of restitution in full, unless the defendant can

      demonstrate to the satisfaction ofthe Court that the defendant's

      economic circumstances do not allow for the payment of full

      restitution in the foreseeable future, in which case the

      defendant will be required to make partial restitution

      payments. In addition to the schedule of payments that may be
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       established by the Court, the defendant understands and agrees

       that, pursuant to the Mandatory Victims Restitution Act of

       1996 and the Justice For All Act of 2004, victims of federal

       crimes are entitled to full and timely restitution. As such, these

       payments do not preclude the Government from using other

       assets or income ofthe defendant to satisfy the restitution

       obligation. The defendant understands and agrees that the

       United States Attorney's Office, by and through the Financial

       Litigation Unit, has the obligation and the right to pursue any

      legal means, including but not limited to, submission of the debt,

      to the Treasury Offset Program, to collect the full amount of

      restitution owed to the victims in a timely fashion. Although

      the defendant may reserve the right to contest the amount of

      restitution owed, the defendant agrees to take all steps to

      facilitate collection of all restitution, inclufing submitting to

      debtor's exams as directed by the Government. Towards this

      goal, the defendant ag"ees to waive any further notice of

      forfeiture and agrees that the United States may, at its sole
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      election, elect to pursue civil or criminal forfeiture in the

      amount of the victim restitution owed in this case, and the

      Court may enter both a restitution order and a forfeiture

      judgment in the amount of any unpaid restitution found by the

      Court to be due and owing at the time of sentencing in this

      matter. The defendant consents to the frling of any civil

      complaint or superseding information which may be necessary

      to perfect a forfeiture order and further stipulates and agrees

      that the defendant's guilty plea constitutes an admission to all

      matters legally and factually necessary for entry of a forfeiture

      order in this case. The parties agree that the Government will

      recommend, but cannot guarantee, that any assets recovered

      through forfeiture proceedings be remitted to crime victims to

      reduce the defendant's restitution obligation in this case. The

      defendant acknowledges that the making of any payments does

      not prec).ude the Government from using other assets or income

      of the defendant to satisfy the restitution obligation. The

      defendant understands that the amount ofrestitution
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        calculated for purposes ofChapter 5 ofthe Sentencing

        Guidelines might be different from the amount of loss calculated

        for purposes of Chapter 2 of the Sentencing Guidelines.

    17. Full Restitution bv Schedule. The defendant agrees to make

        full restitution in accordance with a schedule to be determined

        by the Court.

E   Information           to Court and Probation Office

    18. Backcround Informa       n for Probation Office . The defendant

        understands that the United States will provide to the United

        States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

    19. o b ections to Pre-Sen      Reno rt. The defendant understands

       that pursuant to the United States District Court for the Middie

       Di.strict of Pennsylvania's "Policy for Guideline Sentencing,"

       both the United States and defendant must communicate to the

       Probation Officer within 14 days after disclosure ofthe pre-
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       sentence report any objections they may have as to material

       information, sentencing classifications, applicable Sentencing

       Guidelines ranges, and policy statements contained in or

       omitted from the report. The defendant agrees to meet with the

      United States at least five days prior to sentencing in a good

      faith attempt to resolve any substantive differences. Ifany

      issues remain unresolved, they shalt be communicated to the

      Probation Olficer for inclusion in an addendum to the pre-

      sentence report. The defendant agrees that unresolved

      substantive objections will be decided by the Court after

      briefing, a pre-sentence hearing, or at the sentencing hearing,

      where the standard or proof will be a preponderance of the

      evidence, and the Federal Rules ofEvidence, other than with

      respect to privileges, shall not apply under Fed. R. Evid.

      1101(dXB), and the Court may consider any reliable evidence,

      including hearsay. Objections by the defendant to the pre-

      sentence report or the Court's rulings, will not be grounds for

      withdrawal of a plea of guilty.
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   20. Relevant Sentencine Information, At sentencing, the United

       States will be permitted to bring to the Court's attention, and

       the Court will be permitted to consider, all relevant information

       about the defendant's background, character and conduct,

      including the conduct that is the subject ofthe charges that the

      United States has agreed to dismiss, and the nature and extent

      of the defendant's cooperation, if any. The United States will be

      entitled to bring to the Court's attention and the Court will be

      entitled to consider any failure by the defendant to fulfill any

      obligation under this Agreement.

   21. Non-Limitation on Government's Response. Nothing in this

      Agreement shall restrict or limit the nature or content of the

      United States'motions or responses to any motions filed on

      behalf of the defendant. Nor does this Agreement in any way

      restrict the Government in responding to any request by the

      Court for briefing, argument or presentation of evidence

      regarding the appiication of Sentencing Guidelines to the



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      defendant's conduct, including but not limited to, requests for

      information concerning possible sentencing departures.

F. Court Not Bound by Plea Agreement
   22. Court Not Bo und bv Terms. The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of 20 years in prison, a

      maximum fine of $1,000,000, a maximum term of supervised

      release oflife but at least 3 years, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      costs of prosecution, denial of certain federal benefits, and

      assessments totaling $100.

   23. No Withdrawal of Piea Based on Sentence or Recommendations.

      If the Court imposes a sentence with which the defendant is

      dissatisfied, the defendant will not be permitted to withdraw

      any guilty plea for that reason alone, nor will the defendant be

      permitted to withdraw any guilty plea should the Court decline
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       to follow any recommendations by any of the parties to this

       Agreement.

G. Breach of Plea Aereement by Defendant
   24. Breach ofAqreement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

      Agreement, then the United States shall, in its discretion, have

       the option of petitioning the Court to be relieved of its

      obligations under this Agreement. Whether the defendant has

      completely fulfiIled all of the obligations under this Agreement

      shall be determined by the Court in an appropriate proceeding,

      during which any disclosures and documents provided by the

      defendant shall be admissible, and during which the United

      States shall be required to establish any breach by a

      preponderance ofthe evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on

      statements and evidence given by the defendant during the

      cooperation phase of this Agreement, if any.


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   25. Remedies for Breach. The defendant and the United States

      agtee that in the event the Court concludes that the defendant

      has breached the Agreement:

      a   The defendant will not be permitted to withdraw any guilty

          plea tendered under this Agreement and agrees not to

          petition for withdrawal of any guilty pleai

      b. The United States will be free to make any
          recommendations to the Court regarding sentencing in this

          C&S€r


      c   Any evidence or statements made by the defendant during

          the cooperation phase of this Ageement, if any, will be

          admissible at any trials or sentencingsi

      d. The United States will be free to bring any other charges it
          has against the defendant, including any charges originally

          brought against the defendant or which may have been

          under investigation at the time ofthe plea. The defendant

          waives and hereby agrees not to raise any defense to the

          reinstatement of these charges based upon collateral
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          estoppel, Double Jeopardy, statute of limitations, assertion

          ofSpeedy Tlial rights, or other similar grounds.

   26. Violation of Law Wh'ile   ea or Sentence Pe ndinE . The

      defendant understands that it is a condition ofthis Agreement

      that the defendant refrain from any further violations of state,

      local, or federal law while awaiting plea and sentencing. The

      defendant acknowledges and agrees that ifthe Government

      receives information that the defendant has committed new

      crimes while awaiting plea or sentencing in this case, the

      Government may petition the Court and, if the Court finds by a

      preponderance ofthe evidence that the defendant has

      committed any other criminal offense while awaiting plea or

      sentencing, the Government shall be free at its sole election to

      either: (a) withdraw from this Agreementi or (b) make any

      sentencing recommendations to the Court that it deems

      appropriate. The defendant further understands and agrees

      that, if the Court finds that the defendant has committed any

      other offense while awaiting piea or sentencing, the defendant
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       will not be permitted to withdraw any guilty pleas tendered

       pursuant to this Agreement, and the government will be

       permitted to bring any additional charges that it may have

       against the defendant.

H. Deportation
   27. Deoortation/Removal      om the United States . The defendant

      understands that, if defendant is not a United States citizen,

      deportation-/removal from the United States is a consequence of

      this plea. The defendant further agrees that this matter has

      been discussed with counsel who has explained the immigration

      consequences of this plea. The defendant still desires to enter

      into this plea after having been so advised.

I. Appeal Waiver
   28. Appeal Waiver - Direct. The defendant is aware that Title 28,

      United States Code, $ 1291 affords a defendant the right to

      appeal a judgment of conviction and sentencei and that Titte 18,

      United States Code, g 3?42(d affords a defendant the right to

      appeal the sentence imposed. Acknowledging all of this, the
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        defendant knowingly waives the right to appeal the conviction

        and sentence. This waiver includes any and all possible

        grounds for appeal, whether constitutional or non-

        constitutional, including, but not limited to, the manner in

        which that sentence was determined in light of United States v.

        Booker,543 U.S. 220 (200il. The defendant further

        acknowledges that this appeal waiver is binding only upon the

        defendant and that the United States retains its right to appeal

       in this case.

J         Provisions

    29. Agreement Not Bindine on Other Aeencies. Nothing in this

       Agreement shall bind any other United States Attorney's Office,

       state prosecutor's office, or federal, state, or local law

       enforeement agency.

    30. No Civil Claims or Suits. The defendant agrees not to pursue or

       initiate any civil claims or suits against the United States of

       America, its agencies or employees, whether or not presently

       known to the defendant, arising out of the investigation,
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       prosecution or cooperation, if any, covered by this Agreement,

       including but not limited to any claims for attorney's fees and

       other litigation expenses arising out ofthe investigation and

       prosecution of this matter. By the defendant's guilty plea in

       this matter the defendant further acknowledges that the

       Government's position in this litigation was taken in good faith,

       had a substantial basis in law and fact and was not vexatious.

   31. Plea Aseement Serves Ends of Justice. The United States is

       entering this Agreement with the defendant because this

       disposition ofthe matter fairly and adequately addresses the

       gravity of the offense(s) from which the eharge(s) is/are drawn,

       as well as the defendant's role in such offense(s), thereby

      serving the ends ofjustice.

   32. Mereer of A1l Prior Negotiations. This document states the

      complete and only Agreement between the United States

      Attorney for the Middle District of Pennsylvania and the

      defendant in this case, and is binding only on the parties to this

      Agreement and supersedes all prior understandings or plea
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      offers, whether written or oral. This agreement cannot be

      modified other than in writing that is sigrred by all parties or on

      the record in court. No other promises or inducements have

      been or will be made to the defendant in connection with this

      case, nor have any predictions or threats been made in

      connection with this plea. Pursuant to Rule 11 ofthe Federal

      Bules of Criminal Procedure, the defendant certi.fies that the

      defendant's plea is knowing and voluntary and is not the result

      of force or threats or promises apart from those promises set

      forth in this Agreement.

  33. Defendant i Satisfied with Assistan e of Counsel. The

      Defendant agrees that the defendant has discussed this case

      and this Agreement in detail with the defendant's attorney, who

      has advised the defendant ofthe defendant's Constitutional and

      other trial and appellate rights, the nature ofthe charges, the

      elements of the offenses the United States would have to prove

      at trial, the evidence the United States would present at such

      trial, possible defenses, the advisory Sentencing Guidelines and
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       other aspects of sentencing, potential losses of civil rights and

       privileges, and other potential consequences of pleading guilty

       in this case. The defendant agrees that the defendant is

       satisfied with the legal services and advice provided to the

       defendant by the defendant's attorney.

   34. Deadline for Acceptance of Plea Agreement. The original of this

      Agreement must be signed by the defendant and defense

      counsel and received by the United States Attorney's Offiee on

      or before 5:00 p.m., October 27,2023, otherwise the offer may,

      in the sole discretion of the Government, be deemed withdrawn.

   35. Required Sisaratures. None of the terms of this Agreement shall

      be binding on the Office of the United States Attorney for the

      Middle District of Pennsylvania until signed by the defendant

      and defense counsel and then signed by the United States

      Attorney or his designee.




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                                    ACKNOWLEDGMEI\IIS

     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voiuntarily agree to it.

q/Zr n l                                    \
DatJ                                            SHAYNA COSTA COLO
                                                Defendant


        I am the defendant's counsel. I have carefuily reviewed every part
of this agreement with the defendant. To my knowiedge, my client's
decision to enter into this     ent           med and volunt ary one.

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Da e                                            DANIEL L. PENETAR, ESQUIRE
                                                Counsel for Defendant



                                                GERARD M. KARAM
                                                United States Attorney


5 a                                   By:                       e K$^-
Date                                            ffi                                      lS. O'\\".t'q.
                                                Assistant United States Attorney

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